       Case 8:22-cv-00984-PX         Document 12-1        Filed 05/17/22     Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               (GREENBELT DIVISION)

 SHARNEE SMITH, INDIVIDUALLY
 AND ON BEHALF OF ALL OTHERS
 SIMILARLY SITUATED,

                Plaintiff,
 v.
                                                  Case No.: 8:22-cv-00984-PX
 SODEXO, INC.,
 SODEXO MANAGEMENT, INC., and
 SODEXO OPERATIONS, LLC,

                Defendants.


                                    [PROPOSED] ORDER

       Having considered Defendants’ Consent Motion for Extension of Time to Respond to

Plaintiff’s Complaint and for good cause shown, Defendants’ Motion is hereby GRANTED.

       IT IS THEREFORE ORDERED that Defendants shall be allowed up to and including

June 6, 2022 to answer or otherwise respond to Plaintiff’s Complaint in this matter.

       SO ORDERED this _____ day of ________, 2022.




                                                    ____________________________________
                                                    Hon. Paula Xinis
                                                    U.S. District Judge




                                                                              51546023.v2-OGLETREE
